                                            Case 12-09653-JMC-7A                     Doc 26 FiledFORM 1
                                                                                                    04/12/19  EOD 04/12/19                                       13:20:50           Pg 1 ofPage
                                                                                                                                                                                            2 No:       1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                              ASSET CASES

Case No.:                          12-09653                                                                                                                        Trustee Name:                        Richard E. Boston
Case Name:                         BENTLEY, DONNA MAE                                                                                                              Date Filed (f) or Converted (c):     08/13/2012 (f)
For the Period Ending:              03/31/2019                                                                                                                     §341(a) Meeting Date:                10/03/2012
                                                                                                                                                                   Claims Bar Date:                     04/10/2013
                                       1                                                  2                                3                                 4                         5                                    6

                          Asset Description                                          Petition/                   Estimated Net Value                   Property                  Sales/Funds           Asset Fully Administered (FA)/
                           (Scheduled and                                          Unscheduled                  (Value Determined by                   Abandoned                 Received by          Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                       Value                            Trustee,                  OA =§ 554(a) abandon.            the Estate
                                                                                                               Less Liens, Exemptions,
                                                                                                                  and Other Costs)

Ref. #
1        cash on hand                                                                         $50.00                                   $0.00                OA                               $0.00                                      FA
2        checking account with First Merchants                                                $39.00                                   $0.00                OA                               $0.00                                      FA
         Bank
3        miscellaneous household goods                                                     $500.00                                     $0.00                OA                               $0.00                                      FA
4        pictures                                                                          $100.00                                     $0.00                OA                               $0.00                                      FA
5        wearing apparel                                                                   $500.00                                     $0.00                OA                               $0.00                                      FA
6        jewelry-wedding rings                                                             $600.00                                     $0.00                OA                               $0.00                                      FA
7        Medical malpractice claim on behalf of                                                $0.00                              $5,000.00                                                  $0.00                               $5,000.00
         deceased
8        entered in error                                                                      $0.00                                   $0.00                OA                               $0.00                                      FA
9        2007 Dodge Caravan                                                               $6,500.00                                    $0.00                OA                               $0.00                                      FA


TOTALS (Excluding unknown value)                                                                                                                                                                            Gross Value of Remaining Assets
                                                                                        $8,289.00                                  $5,000.00                                                 $0.00                              $5,000.00



Major Activities affecting case closing:
 03/29/2019         after receiving a successful report by the Indiana Insurance Commission Medical Review Panel, the case has now moved into state court. Mediation is presently
                    scheduled for 07/16/19 with a final pre-trial conference scheduled for 03/20/30 and a jury trial to begin on 4/14/20
 01/26/2018         It looks like the a decision will not be made by the IN Insurance Commission until the end of this year and if favorable to the debtor, litigation will likely follow.
 03/22/2017         Special counsel advised that the parties are still in the process of submitting evidence to the Medical Review Panel. Due to the fact there are several defendants, they
                    now expect this process to last through 2017. Only after all evidence is submitted, will the panel review the matter.
 03/31/2016         sp co has advised the te that an opinion of the Medical Review Panel should be received by 07/19/16.
 04/08/2015         Sp Co has advised the te that the parties are still in the process of selecting members of the Medical Review Panel. Presently there are no
                    deadlines/conferences/hearings or trial dates set in either the Department of Insurance's claim or the Marion County Court case.
 03/20/2015         Special counsel is continuing to pursue med-mal case, which is pending before the Indiana Dept of Insurance. To the best of trustee’s knowledge, the case is still in the
                    hands of the Department of Insurance medical panel with no decision as yet. Trustee wrote to special counsel three weeks ago for an update and has had no response
                    to date.
 01/07/2013         medical malpractice claim
                                     Case 12-09653-JMC-7A            Doc 26 FiledFORM 1
                                                                                    04/12/19  EOD 04/12/19                         13:20:50         Pg 2 ofPage
                                                                                                                                                            2 No:        2
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    12-09653                                                                                               Trustee Name:                        Richard E. Boston
Case Name:                   BENTLEY, DONNA MAE                                                                                     Date Filed (f) or Converted (c):     08/13/2012 (f)
For the Period Ending:        03/31/2019                                                                                            §341(a) Meeting Date:                10/03/2012
                                                                                                                                    Claims Bar Date:                     04/10/2013
                                 1                                   2                            3                           4                        5                                     6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)


Initial Projected Date Of Final Report (TFR):   12/30/2014                    Current Projected Date Of Final Report (TFR):       07/15/2019               /s/ RICHARD E. BOSTON
                                                                                                                                                           RICHARD E. BOSTON
